      Case 3:21-cv-00034-EMC Document 59 Filed 07/29/22 Page 1 of 2



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5    Attorneys for Plaintiffs GEORGE E. BARICH and
     LAURIE ALDERMAN
6

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8                             UNITED STATES DISTRICT COURT
9                           NORTHERN DISTRICT OF CALIFORNIA
10

11    GEORGE E. BARICH and LAURIE                   Case 3:21-cv-00034-EMC
      ALDERMAN,
12
                                                    NOTICE OF ASSOCIATION OF
13
                           Plaintiffs,              COUNSEL

14
             v.                                     Judge: Hon. Edward M. Chen

15
                                                    Complaint filed: January 5, 2021
      CITY OF COTATI and JOHN A.                    Trial date: January 30, 2023
      DELL’OSSO,
16
                           Defendants.
17

18

19          PLEASE TAKE NOTICE that Carleton L. Briggs, attorney of record for Plaintiffs

20   George E. Barich and Laurie Alderman, hereby associates attorney John H. Scott, Scott

21   Law Firm, as co-counsel and lead trial counsel for Plaintiffs in this matter.

22          The name, office address, telephone number, fax number, and e-mail address of

23   the associated counsel are as follows:

24
     JOHN H. SCOTT, SBN 72578
25   Scott Law Firm
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28
                                                 1
                                 NOTICE OF ASSOCIATION OF COUNSEL
      Case 3:21-cv-00034-EMC Document 59 Filed 07/29/22 Page 2 of 2



1    Dated: July 29, 2022                              Law Offices of Carleton L. Briggs
2
                                                       /s/ Carleton L. Briggs
3                                                      CARLETON L. BRIGGS
                                                       Attorneys for Plaintiffs
4                                                      GEORGE E. BARICH and LAURIE
                                                       ALDERMAN
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7           John H. Scott hereby accepts the above association.
8

9    Dated: July 29, 2022                             John H. Scott
                                                      Scott Law Firm
10

11                                                    /s/ John H. Scott
                                                      JOHN H. SCOTT
12                                                    Attorneys for Plaintiffs
                                                      GEORGE E. BARICH and LAURIE
13                                                    ALDERMAN
14

15

16                                      CERTIFICATION
17          I, Carleton L. Briggs, am the ECF User whose identification and password are
18   being used to file this Notice of Association of Counsel. I hereby attest that John H. Scott
19   has concurred in this filing.
20

21   Dated: July 29, 2022                             Respectfully submitted by
22
                                                       /s/ Carleton L. Briggs
23                                                     CARLETON L. BRIGGS
24

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                                                 2
                                 NOTICE OF ASSOCIATION OF COUNSEL
